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March 29, 2021
Via ECF
Hon. Louis L. Stanton
United States District Judge
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

Re:       Dresser-Rand Co. v. Petróleos de Venezuela, S.A., et al, No. 19-cv-02689-LLS
Dear Judge Stanton:
This firm represents plaintiff Dresser-Rand Company (“D-R”) in the above-referenced action. We write,
pursuant to Rule 4 of Your Honor’s Individual Practices, and on behalf of D-R and defendant Petróleos
de Venezuela, S.A. (“PDVSA”) to submit to the Court a consolidated Pre-Trial Order as well as each
party’s respective trial briefs addressing contested issues of law and evidentiary issues likely to arise at
trial.
In the event the Court has any questions or seeks additional clarification on any of the issues addressed in
the pre-trial submissions, counsel for the parties remain available to participate in a pre-trial conference.
Moreover, for the Court’s convenience, we provide the following dates, between May and October 2021,
that counsel and/or the parties will not be available to appear at trial:
          May 10 – 13, 2021
          May 17 – 21, 2021
          May 28, 2021
          June 1, 2021
          June 8 – July 31, 20211
          August 5 – 23, 2021
          August 30 – September 1, 2021
          September 6 – 17, 2021
We thank the Court for its time and attention to this matter.




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  If the trial will be conducted remotely using a videoconference platform that does not require a landline phone, counsel and
the parties will be available during this period from June 8-9, June 11-20, July 10-18, and July 24-31, 2021.
         ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
      HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON
             RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
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March 29, 2021
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Respectfully submitted,

/s/ Jordan W. Siev
Jordan W. Siev
cc:    All Counsel of Record (via ECF)
